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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


CARIN LEE,

                       Plaintiff,

v.                                                             Case No: 6:14-cv-546-Orl-41KRS

CREDIT ONE BANK and GC
SERVICES, L.P.,

                       Defendants.
                                             /

                                             ORDER

       THIS CAUSE is before the Court on the parties’ Joint Stipulation of Dismissal With

Prejudice (Doc. 39), filed March 30, 2015. Pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii), the Clerk is directed to terminate all pending motions and close this case.

       DONE and ORDERED in Orlando, Florida on March 31, 2015.




Copies furnished to:

Counsel of Record




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